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                                    November 13, 2020

Via ECF
Honorable Paul G. Gardephe
United States District Judge
Thurgood Marshall U.S. Courthouse
40 Foley Square
New York, NY 10007

       Re:    United States v. Avenatti, No. S1 19 Cr. 373 (PGG)
              Motion for an Additional 60-day Adjournment of
              Sentencing Date and Filing of Sentencing Submissions

Dear Judge Gardephe:

      Mr. Avenatti’s sentencing hearing is currently scheduled for December 9, 2020. We
write to respectfully request an additional adjournment of the sentencing date for
approximately sixty (60) days, until early February 2021, if the Court’s schedule permits. Mr.
Avenatti further requests a corresponding adjournment of the dates for the defense and the
government to file their sentencing submissions.
       The government does not consent to a 60-day adjournment, but does consent to a
shorter adjournment until December 21-22, 2020.
        As this Court is aware, on February 14, 2020, a jury found Mr. Avenatti guilty of the
three counts charged against him in the Superseding Indictment. At the time, Mr. Avenatti
was in custody pursuant to a remand order entered by United States District Judge James Selna
of the Central District of California. On April 24, 2020, Mr. Avenatti was temporarily released
to home confinement in California pursuant to conditions set by Judge Selna in the wake of
the COVID-19 pandemic. See United States v. Avenatti, Case No. SA-CR-19-61-JVS (ECF
No. 154:7). Mr. Avenatti remains under home confinement in Venice, California. Undersigned
counsel (Mr. Srebnick) is based in Miami, Florida, while undersigned counsel (Ms. Perry) is
based in New York.
        COVID-19 cases continue to dramatically spike around the United States. Over the
last seven days, there have been an average of 134,000 new cases reported on a daily basis,
which is more than at any time since the onset of the pandemic. Yesterday, there were more
than 163,000 newly reported cases, shattering the previous record. More than 67,000 people
are currently hospitalized with COVID-19 in the United States, an all-time high. Florida,
California, and New York are likewise experiencing renewed surges over the last month. The
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COVID-19 positivity rate in New York City is at its highest level since June. News reports
suggest that schools in New York City may close again as early as this Monday. Medical
professionals expect cases to spike even further after the Thanksgiving and Christmas holidays.
Plainly, this is a time when people in the United States should be curtailing air travel to
minimize risk and the spread of the virus.
       On November 10, 2020, the United States District Court for the Southern District of
New York issued a new “SDNY Protocol for Domestic Travelers.” That protocol prohibits
individuals from entering the courthouse if they have been in a state other than New York,
Connecticut, New Jersey, Massachusetts, Pennsylvania, and Vermont in the previous 14 days
for more than 24 hours, unless they meet the following criteria:
           1. Took a COVID PCR diagnostic test within three days prior to
              departure from the state of embarkation;

           2. Took another COVID PCR diagnostic test on day 5 after arrival
              in New York; and

           3. Received negative results from both tests.
        The practical effect of this new protocol is that undersigned counsel (Mr. Srebnick),
Mr. Avenatti, and Mr. Avenatti’s two daughters, both of whom are attending high school and
wish to attend Mr. Avenatti’s sentencing hearing, must travel to, and remain in, New York for
at least seven days prior to the sentencing hearing to ensure that there is sufficient time for
everyone to schedule the accepted test and receive the (hopefully) negative results. Mr.
Avenatti’s first wife must accompany her minor daughters and also wishes to attend the
sentencing hearing; she has had medical issues that place her in a high-risk category. In
addition, undersigned counsel (Ms. Perry) is planning to travel (by car) to the Washington,
D.C. area over the Thanksgiving holiday; because she is scheduled to return to New York
within the 14-day period prior to the scheduled sentencing date, the new protocol would require
Ms. Perry to get tested for COVID-19 over the holiday weekend while in Washington, D.C.,
and then again upon her return to New York.
       For these reasons, Mr. Avenatti respectfully requests that the Court grant an additional
adjournment of the sentencing of 60 days, until early February 2021, before requiring him, his
family, and undersigned counsel to travel to New York for sentencing.
       A further delay would not prejudice the government. Mr. Avenatti remains on home
confinement, subject to restrictive conditions, and continues to prepare for multiple trials in
connection with two additional indictments. The alleged victims in the case – Coach Gary
Franklin and Nike – have already testified extensively at trial, so there is no risk that the victims
will not be heard.
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       In the event the Court denies the request for a 60-day adjournment, Mr. Avenatti
requests an adjournment of 12 days, until December 21-22, 2020 (if the Court’s schedule
permits), so that Mr. Avenatti’s daughters may attend the sentencing hearing after they
complete their high school semester and to avoid the concern that it may prove impossible for
Ms. Perry to obtain PCR testing in Washington, D.C., over the Thanksgiving holiday. The
government does not oppose a 12-day adjournment.
       Moreover, Mr. Avenatti respectfully requests that his sentencing submission be due
three weeks before any new sentencing date and that the government’s sentencing submission
be due one week after the due date for the defense submission.
       Thank you for your consideration of this request.
                                          Respectfully Submitted,
                                          /s Scott Srebnick
                                          Scott A. Srebnick
                                          E. Danya Perry

cc: Government Counsel
